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                       8 Dongwon    Industries Co., Ltd.
                       9 (Additional Party and Counsel on Signature Page)
                  10                          UNITED STATES DISTRICT COURT
                  11                       SOUTHERN DISTRICT OF CALIFORNIA
                  12       IN RE PACKAGED SEAFOOD                      Case No. 3:15-md-02670-DMS-
                           PRODUCTS ANTITRUST                          MSB
                  13       LITIGATION
                                                                       MDL No. 2670
                  14
                                                                       DEFENDANTS’ OPPOSITION
                  15                                                   TO AWG AND AFMC’S
                           This Document Relates To:                   MOTION FOR
                  16       (1)   Affiliated Foods, Inc. v. Tri-Union   RECONSIDERATION OR
                                                                       FOR INTERLOCUTORY
                  17             Seafoods, LLC et al., Case No.        APPEAL PURSUANT TO 28
                                 3:15-cv-02787                         U.S.C. § 1292(b)
                  18
                           (2)   Associated Wholesale Grocers, Inc.    Hearing
                  19             v. Bumble Bee Foods LLC, et al.,      Date: June 23, 2023
                                 Case No. 3:18-cv-01014                Time: 1:30 p.m.
                  20                                                   Judge: Hon. Dana M. Sabraw
                                                                       Place: Courtroom 13A
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                                                                                 DEFS.’ OPP’N TO PLS.’ MOT. FOR
ATTOR NEY S A T LA W
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                       1                  LIST OF CITATIONS AND ABBREVIATIONS
                       2
                                          NAME                    ABBREVIATION               CITATION
                       3
                                                               PARTIES
                       4
                       5   Associated Wholesale Grocers, Inc.    AWG
                           and Affiliated Foods Midwest
                       6   Cooperative, Inc.
                       7
                           StarKist Co.                          StarKist
                       8
                           Dongwon Industries Co., Ltd.          DWI
                       9
                  10       Del Monte Corporation                 Del Monte

                  11       StarKist, DWI, and Del Monte          Defendants
                  12       Chicken of the Sea International,     COSI
                  13       Inc.

                  14       Bumble Bee Foods LLC                  Bumble Bee
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                  16
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                  17       Motion for Partial Summary            Pre-2011 Motion
                  18       Judgment Dismissing All Claims for
                           Purchases Made Prior to May 30,
                  19       2011
                  20       Plaintiffs’ Opposition to StarKist, Pre-2011 Opp’n            ECF No. 2123
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                           Partial Summary Judgment
                  22       Dismissing All Claims for Purchases
                  23       Made Prior to May 30, 2011
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                  25       Authorities in Further Support of
                           StarKist, Del Monte, and DWI’s
                  26       Motion for Partial Summary
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                  28
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                       2   2011
                       3   Supplemental Brief in Further          Suppl. Pre-2011       ECF No. 3000
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                       4
                           DWI’s Motion for Partial Summary
                       5   Judgment Dismissing All Claims for
                       6   Purchases Made Prior to May 30,
                           2011
                       7
                           Plaintiffs’ Supplemental Opposition    Suppl. Pre-2011       ECF No. 3015
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                           Claims for Purchases Made Prior to
                  10       May 30, 2011
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                  13       Del Monte, and DWI’s Motion for
                           Partial Summary Judgment
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                  15       Made Prior to May 30, 2011

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                           Monte Corporation, and DWI’s
                  17
                           Motion for Partial Summary
                  18       Judgment Dismissing All Claims for
                           Purchases Made Prior to May 30,
                  19
                           2011
                  20
                           AWG’s Motion for Reconsideration       Mot. or Motion        ECF No. 3073
                  21       or for Interlocutory Appeal Pursuant
                  22       to 28 U.S.C. § 1292(b)
                  23                                     MISCELLANEOUS
                  24       Phillip E. Areeda & Herbert            Areeda
                  25       Hovenkamp, Antitrust Law: An
                           Analysis of Antitrust Principles and
                  26       Their Application
                  27
                  28
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                       1 I.      INTRODUCTION
                       2         AWG’s Motion seeks a do-over and rehashes the same arguments that this
                       3 Court has already considered and rejected. This Motion should be denied:
                       4         First, AWG’s request for reconsideration does not identify any newly
                       5 discovered evidence or intervening change in the controlling law. Instead, AWG
                       6 rests its Motion (filed three days too late) on the misguided proposition that the
                       7 Court clearly erred. AWG cannot surmount that high bar.
                       8         AWG’s arguments—namely, that the Court (1) erroneously relied on Third
                       9 Circuit law and drew the wrong inferences; (2) improperly analyzed the evidence
                  10 in the context of the pre-2011 agreements AWG alleged; and (3) discounted
                  11 evidence of direct communications—all fail. The Pre-2011 Order strictly adheres
                  12 to the legal standards articulated by the Supreme Court and the Ninth Circuit in In
                  13 re Citric Acid Litigation, 191 F.3d 1090 (9th Cir. 1999). Consistent with that
                  14 blackletter law, the Court properly evaluated the evidence individually and
                  15 collectively in the context of the specific unlawful actions AWG alleged. There is
                  16 nothing in the Pre-2011 Order that constitutes clear error, and AWG’s request for
                  17 reconsideration should be denied.
                  18             Second, the Court should deny AWG’s alternative request to certify the Pre-
                  19 2011 Order for interlocutory review under 28 U.S.C. § 1292(b). Such
                  20 interlocutory review is reserved for pure legal questions that the appellate court can
                  21 resolve without studying the record. That is not the case here, and AWG’s request
                  22 for alternative relief should, therefore, also be denied.
                  23 II.         THERE ARE NO GROUNDS TO RECONSIDER THE PRE-2011
                                 ORDER
                  24
                  25             A.    Legal Standard - Reconsideration
                  26             Reconsideration is not warranted unless “the district court (1) is presented
                  27 with newly discovered evidence, (2) committed clear error or the initial decision
                  28
                                                                                     DEFS.’ OPP’N TO PLS.’ MOT. FOR
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                       1 was manifestly unjust, or (3) if there is an intervening change in controlling law.”1
                       2 Sch. Dist. No. 1J, Multnomah Cty., Or. v. ACandS, Inc., 5 F.3d 1255, 1263 (9th
                       3 Cir. 1993). Reconsideration is an “extraordinary remedy, to be used sparingly.”
                       4 Kona Enters., Inc. v. Estate of Bishop, 229 F.3d 877, 890 (9th Cir. 2000). Thus, it
                       5 should not be granted “absent highly unusual circumstances”—none of which are
                       6 present here. Marlyn Nutraceuticals, Inc. v. Mucos Pharma GmbH & Co., 571
                       7 F.3d 873, 880 (9th Cir. 2009). A motion for reconsideration “cannot be used to ask
                       8 a court to rethink what it has already thought, merely because [the movant]
                       9 disagrees with the court’s decision.” Manouchehri v. Styles for Less, Inc., No. 14-
                  10 CV-2521 NLS, 2017 WL 11663585, at *2 (S.D. Cal. June 1, 2017) (citations
                  11 omitted); see also Am. Ironworks & Erectors, Inc. v. N. Am. Constr. Corp., 248
                  12 F.3d 892, 899 (9th Cir. 2001) (a motion for reconsideration should not “merely
                  13 restate[]” arguments already made). Nor can it be used “to raise arguments or
                  14 present evidence for the first time when they could reasonably have been raised
                  15 earlier in the litigation.” Marlyn, 571 F.3d at 880 (quoting Kona Enters., Inc., 229
                  16 F.3d at 890).
                  17             Additionally, under Civil Local Rule 7.1, motions for reconsideration must
                  18 be “filed within twenty-eight (28) days after the entry of the ruling, order or
                  19 judgment sought to be reconsidered.” S.D. Cal. Civil L.R. 7.1(i)(2). Motions for
                  20 reconsideration must also be supported by “an affidavit of a party or witness or
                  21 certified statement of an attorney” setting forth, inter alia, the order for which
                  22 reconsideration is sought; when and what judge issued that order; and the new or
                  23 different facts and circumstances that “are claimed to exist which did not exist, or
                  24 were not shown,” when the movant filed its original application. Id. at 7.1(i)(1).
                  25
                  26      1
                      AWG moves for reconsideration under Federal Rule of Civil Procedure 54(b).
                     See ECF No. 3073. For purposes of reconsideration under Rule 54(b), district
                  27 courts “look to the standard on motions for reconsideration under Rule 59 and Rule
                  28 60(b).” Romero v. S. Schwab Co., Inc., No. 15-CV-815-GPC-MDD, 2018 WL
                     3126111, at *3 (S.D. Cal. June 26, 2018) (citations omitted).
                                                                                    DEFS.’ OPP’N TO PLS.’ MOT. FOR
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                       1         Not only does AWG’s Motion fail on the merits, but it also fails to comply
                       2 with the requirements set forth in the Local Rules. Either shortcoming is grounds,
                       3 in and of itself, to deny AWG’s Motion.
                       4         B.    The Court Did Not Commit Clear Error
                       5         AWG invokes only “clear error” as the basis for its reconsideration request
                       6 but omits any discussion of the “clear error” standard—a sure sign that AWG
                       7 cannot satisfy it. Mot. at 3. Clear error is a “very exacting standard” and “mere
                       8 doubts or disagreements about the wisdom of a prior decision . . . will not suffice
                       9 for this exception.” Campion v. Old Republic Home Protection Co., No. 09-CV-
                  10 748-JMA, 2011 WL 1935967, at *1 (S.D. Cal. May 20, 2011) (citation omitted).
                  11 Reconsideration on clear error grounds is not appropriate unless the court has a
                  12 “definite and firm conviction that a mistake has been committed.” Smith v. Clark
                  13 Cty. Sch. Dist., 727 F.3d 950, 955 (9th Cir. 2013) (quoting United States v. U.S.
                  14 Gypsum Co., 333 U.S. 364, 395 (1948)). In other words, the decision must be
                  15 “dead wrong.” Campion, 2011 WL 1935967, at *1 (citation omitted); see also
                  16 Walker v. United States, No. 20-CV-31 DMS (AGS), 2020 WL 4464459, at *2
                  17 (S.D. Cal. Aug. 4, 2020) (Sabraw, J.) (“[T]he movant must demonstrate a
                  18 ‘wholesale disregard, misapplication, or failure to recognize controlling
                  19 precedent.’”) (citation omitted).
                  20             AWG argues that the Court committed three clear errors in the Pre-2011
                  21 Order: “(1) it applied the heightened Third Circuit antitrust standard; (2) it cabined
                  22 the evidence of the conspiracy to various parallel price increases; and (3) it
                  23 discounted the direct communications between competitors.” Mot. at 3. AWG
                  24 claims that, as a result of these supposed errors, the Pre-2011 Order “is likely at
                  25 odds with every other court to consider similar proof at the summary judgment
                  26 stage.” Id. at 3. But AWG fails to cite a single case for this proposition and, in the
                  27 process, ignores the many analogous cases that form the basis for the Court’s
                  28 reasoned opinion, including the seminal Ninth Circuit case, Citric Acid.
                                                                                    DEFS.’ OPP’N TO PLS.’ MOT. FOR
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                                         27

                       1               1.     The Court Properly Applied Controlling Ninth Circuit and
                       2                      Supreme Court Precedent

                       3         The Pre-2011 Order reflects the Court’s careful application of the governing
                       4 legal standard. See Pre-2011 Order at 11-16. Specifically, the Court applied the
                       5 two-part test as articulated by the Ninth Circuit in Citric Acid that, once a
                       6 defendant shows a “plausible and justifiable reason for its conduct,” the burden
                       7 shifts to the plaintiff to “provide specific evidence tending to show that the
                       8 defendant was not engaging in permissible competitive behavior.” Id. at 14.
                       9 Citing Citric Acid—which, in turn, quoted the Supreme Court’s decision in
                  10 Matsushita Electric Industrial Co., Ltd. v. Zenith Radio Corp.—the Court also
                  11 made the uncontroversial statement that “conduct as consistent with permissible
                  12 competition as with illegal conspiracy does not, standing alone, support an
                  13 inference of antitrust conspiracy.” Id. at 13 (quoting Matsushita, 475 U.S. 574,
                  14 588 (1986) (citing Monsanto Co. v. Spray-Rite Serv. Corp., 465 U.S. 752, 764
                  15 (1984))). This has been the law for over 30 years, and the Court’s Pre-2011 Order
                  16 applied this long-settled legal standard to AWG’s pre-2011 claims. See id. at 16-
                  17 35.
                  18             AWG nevertheless argues that the Court applied some sort of “heightened
                  19 Third Circuit standard for summary judgment in antitrust cases.” Mot. at 3. Not
                  20 so.2 Yes, the Court cited two cases from the Third Circuit in its discussion of the
                  21 legal standard. Pre-2011 Order at 15 (citing Petruzzi’s IGA Supermarkets, Inc. v.
                  22 Darling-Delaware Co., 998 F.2d 1224, 1230 (3d Cir. 1993), Valspar Corp. v. E.I.
                  23 Du Pont De Nemours & Co., 873 F.3d 185, 191 (3d Cir. 2017)). But the
                  24 propositions that those cases stand for, and the purpose for which the Court cited
                  25
                           2
                      The Home Depot, U.S.A., Inc. v. E.I. DuPont de Nemours & Co., No. 16-CV-
                  26 04865, 2019 WL 3804667 (N.D. Cal. Aug. 13, 2019), case cited by AWG for its
                     comparison of Ninth versus Third Circuit law demonstrates that the Court did not
                  27 commit clear error. See Mot. at 3-4. As discussed above, the Court’s Pre-2011
                  28 Order correctly applied the Matsushita standard and the two-part Citric Acid test,
                     as endorsed by the Home Depot court.
                                                                                     DEFS.’ OPP’N TO PLS.’ MOT. FOR
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                       1 those opinions, are principles of economic theory that have been accepted by the
                       2 Ninth and Third Circuits alike. For example, both circuits, consistent with
                       3 economic theory, have long recognized that oligopolists are interdependent—that
                       4 is, when one firm makes a decision, it must account for the “anticipated reaction of
                       5 the other firms.” Pre-2011 Order at 15; see also Areeda ¶ 1429 (“[A]ny rational
                       6 decision [in an oligopoly] must take into account the anticipated reaction of the
                       7 other [] firms.”); In re Musical Instruments & Equip. Antitrust Litig., 798 F.3d
                       8 1186, 1193-95 (9th Cir. 2015) (explaining that in interdependent markets, “the
                       9 profitability of a firm’s decisions regarding pricing depends on competitors’
                  10 reactions” and “interdependent firms may engage in consciously parallel conduct
                  11 through observation of their competitors’ decisions, even absent an agreement”);
                  12 Prosterman v. Am. Airlines, Inc., 747 F. App’x 458, 461 (9th Cir. 2018) (“[I]n an
                  13 interdependent oligopoly it may be in a company’s interest to raise prices in the
                  14 hope that its competitors play ‘follow the leader.’”). Also consistent across both
                  15 circuits is the principle that interdependence “often results in ‘conscious
                  16 parallelism.’” Pre-2011 Order at 16; Prosterman, 747 F. App’x at 461
                  17 (“[C]onscious parallelism [is] endemic to an oligopoly.”). As the Court correctly
                  18 explained, that parallel conduct, “if conducted unilaterally, is not unlawful under
                  19 section 1 of the Sherman Act, ‘even if it appears to restrain trade unreasonably.’”
                  20 Pre-2011 Order at 16 (quoting The Jeanery, Inc. v. James Jeans, Inc., 849 F.2d
                  21 1148, 1152 (9th Cir. 1988)); see also Areeda ¶ 1429 (“[O]ligopolists’ decisions
                  22 may be interdependent although arrived at independently.”). The Court evaluated
                  23 the Pre-2011 Motion against this backdrop, which, again, aligns with well-
                  24 established Ninth Circuit law.3
                  25
                  26
                     3
                       The Court also cited some Third Circuit case law elsewhere in the Pre-2011
                  27 Order. But AWG does not explain how any of those cases conflict with Ninth
                  28 Circuit law. See, e.g., Citric Acid, 191 F.3d at 1103-05 (9th Cir. 1999) (citing In re
                     Baby Food Antitrust Litig., 166 F.3d 112 (3d Cir. 1999) favorably).
                                                                                    DEFS.’ OPP’N TO PLS.’ MOT. FOR
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                       1         In doing so, the Court did not improperly weigh the evidence, as AWG
                       2 contends. See Mot. at 3-4. Rather, the Court did exactly what it was supposed to
                       3 do in this circumstantial evidence case for the pre-2011 period: it applied the
                       4 Ninth Circuit’s two-part test from Citric Acid. Pre-2011 Order at 19. First, the
                       5 Court found that, with respect to each agreement at issue, Defendants showed a
                       6 “plausible and justifiable reason for [their] conduct.” See id. at 19-20, 30, 33.
                       7 Second, the Court evaluated whether AWG “provide[d] specific evidence tending
                       8 to show that [Defendants] were not engaging in permissible competitive behavior.”
                       9 Id. at 14. That is what Citric Acid requires. The fact that the Court held that
                  10 AWG’s evidence was insufficient does not amount to a “wholesale disregard” of
                  11 controlling precedent. Walker, 2020 WL 4464459, at *2.
                  12             The Court also did not improperly draw inferences in Defendants’ favor. To
                  13 the contrary, the Court gave AWG the “benefit of the doubt” on numerous of its
                  14 proposed inferences. See, e.g., Pre-2011 Order at 13, 21-22 (“[E]ven drawing the
                  15 inference in favor of the DAPs, and assuming Robert Worsham told his son about
                  16 the downsize, that sharing of information does not evidence an agreement under
                  17 Section 1.”) (emphasis added); id. at 23 (“Even drawing the inference in the DAPs’
                  18 favor, the suggestion that Bumble Bee was in possession of information regarding
                  19 Defendants’ downsize ‘does not, at least in itself, tend to exclude legitimate
                  20 competitive behavior.’”) (emphasis added). But, as was its duty under Monsanto,
                  21 Matsushita, and Citric Acid, the Court also asked whether AWG’s evidence was as
                  22 consistent with lawful conduct as it was with the unlawful conduct AWG alleges.
                  23 See Citric Acid, 191 F.3d at 1094; see also Matsushita, 475 U.S. at 588
                  24 (“[A]ntitrust law limits the range of permissible inferences from ambiguous
                  25 evidence in a § 1 case.”).
                  26             The rest of AWG’s Motion is a repeat of arguments it has made before. See
                  27 Mot. at 4-5. But the simple fact that AWG disagrees with the Court’s treatment of
                  28 those arguments does not constitute “clear error.” See Campion, 2011 WL
                                                                                     DEFS.’ OPP’N TO PLS.’ MOT. FOR
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                       1 1935967, at *1. For example, AWG suggests that its burden at summary judgment
                       2 should have somehow been diminished because its claims are “economic[ally]
                       3 plausibl[e].” Mot. at 4. AWG made this same argument the first time around, and
                       4 the Court correctly rejected it. See Pre-2011 Opp. at 28-34; Pre-2011 Order at 14
                       5 n.7. Likewise, AWG repeats the argument that StarKist’s guilty plea, which spans
                       6 from November 2011 to December 2013, confirms it entered into unlawful
                       7 agreements earlier.4 Mot. at 4-5. The Court considered and correctly rejected this
                       8 argument as well. Pre-2011 Order at 28-29. Finally, AWG argues that COSI’s
                       9 decision to implicate StarKist in the alleged agreements after 2011, but not before
                  10 2011, does not suggest that StarKist was uninvolved in the pre-2011 agreements.
                  11 Mot. at 5. AWG made this argument several times already, and the fact that the
                  12 Court disagreed with AWG is not clear error. See also Suppl. Pre-2011 Opp’n at
                  13 8; Suppl. Pre-2011 Reply at 4 n.7. In fact, the Court’s passing reference to the
                  14 probative value of COSI’s admissions, see Pre-2011 Order at 27, is consistent with
                  15 Citric Acid and other Ninth Circuit authority. Pre-2011 Mot. at 25. The cases
                  16 AWG cites, on the other hand, are not on point. See Mot. at 5. Unlike Citric Acid,
                  17 none of those cases address the situation at issue here—i.e., when a competitor
                  18 admits to conspiring with others but not the defendant. Mot. at 5; Pre-2011 Mot. at
                  19 25. In short, none of these arguments is new or grounds for reconsideration.
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                  24      4
                            It is worth noting that in support of this argument, AWG claims that the pre-2011
                  25      agreements “featured the same group of conspirators” as the agreements covered
                          by StarKist’s guilty plea. Mot. at 4. Yet, in a different context, AWG takes great
                  26      pains to emphasize that the “downsize agreements . . . only involved the highest-
                          level executives” at StarKist, Bumble Bee, and COSI—i.e., not the “same group”
                  27      that was involved in the post-2011 agreements. Mot. at 1; see also id. at 8 n.3.
                  28      This is just one of AWG’s many contradictory and misleading statements, all of
                          which undermine AWG’s attempt to undo the Court’s Pre-2011 Order.
                                                                                   DEFS.’ OPP’N TO PLS.’ MOT. FOR
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                       1               2.     The Court Properly Analyzed AWG’s Evidence
                       2         AWG also complains that the Court improperly compartmentalized AWG’s
                       3 evidence.5 Mot. at 5-6. But the Court did no such thing. Time and again, the
                       4 Court explicitly articulated how it considered “all of the evidence . . . both
                       5 individually and as a whole.” See, e.g., Pre-2011 Order at 29 (citing Citric Acid,
                       6 191 F.3d at 1094); see also id. at 15 (quoting Persian Gulf Inc. v. BP West Coast
                       7 Prods. LLC, 324 F.Supp.3d 1142, 1148 (S.D. Cal. 2018), “plus factors are
                       8 examined individually and cumulatively”); id. at 20 (“DAPs have submitted
                       9 numerous pieces of evidence in an attempt to meet that burden, but considered
                  10 individually and together, that evidence does not show Defendants’ decision to
                  11 downsize their cans was not an exercise in permissible competitive behavior.”); id.
                  12 at 30-31 (discussing evidence put forth by AWG and noting that “[n]one of this
                  13 evidence [] gives rise to a reasonable inference that Defendants were not engaging
                  14 in permissible competitive behavior”); id at 32 (“either alone or in combination
                  15 with the other evidence discussed above, [Defendants’] admissions are insufficient
                  16 to satisfy the DAPs’ burden”); id. at 35 (“Considered alone or together with the
                  17 evidence discussed above, the DAPs’ expert evidence is insufficient to satisfy the
                  18 DAPs’ burden[.]”).
                  19             That the Court evaluated whether AWG’s evidence supports the agreements
                  20 AWG alleges is proper. In fact, it is exactly what the Court was supposed to do—
                  21 as explained by the cases that AWG itself cited. In In re Blood Reagents Antitrust
                  22 Litigation, for example, the court explained that although courts should avoid
                  23 “compartmentalizing the various factual components [of plaintiffs’ evidence] and
                  24 wiping the slate clean after scrutiny of each,” “plaintiffs must still provide some
                  25
                           5
                       AWG also made this argument in its supplemental opposition to the Pre-2011
                  26 Motion. Suppl. Pre-2011 Opp’n at 14 n.92. Defendants addressed that argument
                     in their supplemental reply. Suppl. Pre-2011 Reply at 3 n.5. The Court need not
                  27 revisit that argument again here. See Am. Ironworks & Erectors, Inc., 248 F.3d at
                  28 899 (motions for reconsideration should not “merely restate[]” arguments already
                     made).
                                                                                     DEFS.’ OPP’N TO PLS.’ MOT. FOR
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                       1 credible evidence to support a finding that each [price] increase was the product of
                       2 a conspiracy.” 266 F. Supp. 3d 750, 778-79 (E.D. Pa. 2017) (concluding that
                       3 “plaintiffs have not offered sufficient evidence [] tend[ing] to exclude the
                       4 possibility that the 2005 and 2008 price increases were the product of
                       5 interdependence”); see also Dreamstime.com, LLC v. Google LLC, 54 F.4th 1130,
                       6 1142 (9th Cir. 2022) (holding that when “each individual action alleged by
                       7 [plaintiff] does not rise to anticompetitive conduct . . . their collective sum likewise
                       8 does not”). The Court conducted exactly the analysis required by the Ninth
                       9 Circuit.
                  10                    3.    AWG Repeats Arguments this Court Has Already
                  11                          Considered and Rejected
                  12             AWG’s final attempt to invalidate the Pre-2011 Order essentially asks the
                  13 Court to re-review the same evidence based on the same arguments and the same
                  14 case law. See Mot. at 7-15. Indeed, many of the points AWG makes (Mot. at 7-
                  15 15) are virtual duplicates of points it previously made. For example, AWG argues
                  16 that “StarKist is . . . not shielded from liability based on [Scott] Cameron’s refusal
                  17 to use the term ‘agreement’ for the pre-conviction period.” Mot. at 12. AWG
                  18 made this same argument in its Supplemental Pre-2011 Opposition. See Suppl.
                  19 Pre-2011 Opp’n at 12-13 (“StarKist tries to duck this conclusion based on whether
                  20 the conspirators use the label ‘agreement’ for their earlier activities.”). AWG also
                  21 argues again that “StarKist’s ‘high-level executives’ with ‘pricing authority’ often
                  22 exchanged information and those exchanges ‘actually had an impact on pricing.’”
                  23 Mot. at 7. This too is a nearly verbatim repeat of a prior AWG argument. See
                  24 Suppl. Pre-2011 Opp’n at 11 (“First, StarKist’s and Bumble Bee’s ‘high-level
                  25 executives’ with ‘pricing authority’ often exchanged confidential information.”).6
                  26
                     6
                       Also compare Mot. at 7 (describing the Persian Gulf court’s summary of how
                  27 courts analyze competitor communications), with Suppl. Pre-2011 Opp’n at 11
                  28 (same); compare Mot. at 15 (listing six ways the “conspirators” allegedly “tried to
                     hide their activities”), with Suppl. Pre-2011 Opp’n at 10 (same).
                                                                                     DEFS.’ OPP’N TO PLS.’ MOT. FOR
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                       1 AWG’s effort to retread the same ground is not proper on a motion for
                       2 reconsideration.7 See, e.g., Manouchehri, 2017 WL 11663585, at *2; Strobel v.
                       3 Morgan Stanley Dean Witter, No. 04-CV-1069-BEN, 2007 WL 1053454, at *3
                       4 (S.D. Cal. Apr. 10, 2007) (“The Court cannot emphasize strongly enough that the
                       5 Rules allowing for motions for reconsideration are not intended to provide litigants
                       6 with a second bite at the apple.”).
                       7         Still, AWG presses on, claiming “clear error” and arguing that the Court
                       8 “discounted” its evidence when, in fact, AWG simply disagrees with the Court’s
                       9 conclusion. See Mot. at 3, 8-15. AWG vaguely refers to communications between
                  10 StarKist, Bumble Bee, and COSI personnel, and mentions other documents that
                  11 allegedly reflect the gathering of competitive intelligence. Id. Yet AWG’s Motion
                  12 cites back to its prior briefing—a clear sign of how AWG has already argued, and
                  13 the Court has already considered, these issues before. See id. at 8-15 (citing prior
                  14 briefing throughout). AWG also quotes case law describing distinguishable
                  15 evidence in other cases. Id. But AWG’s descriptions of the records and statements
                  16 from other cases is not enough to meet AWG’s burden here. Likewise for AWG’s
                  17 efforts to re-argue the opinions offered by its economist.8 That effort was
                  18
                           7
                  19         Where AWG does not parrot its prior arguments, it sometimes flat out contradicts
                           them. For example, AWG’s newest theory is that there were “two can downsize
                  20       agreements”—one between Lischewski of Bumble Bee and an unidentified
                           StarKist employee and then a second one between Lischewski (Bumble Bee) and
                  21       COSI. Mot. at 1-2. That assertion stands in stark contrast to AWG’s statement in
                  22       its opposition to the Pre-2011 Motion that a conversation between “StarKist’s
                           Barry Mills” and “COSI’s John DeBeer” is “direct evidence” of a downsize
                  23       agreement. Pre-2011 Opp’n at 34-35. AWG also now concedes that “neither
                           downsizing agreement involved . . . [Scott] Cameron or [Ken] Worsham.” Mot. at
                  24       2; see also id. at 8 n.3. But in its opposition to the Pre-2011 Motion, AWG relied
                  25       on evidence involving Cameron and Worsham, including their Fifth Amendment
                           invocations, to suggest that Del Monte/StarKist agreed with its competitors to
                  26       downsize its cans. See, e.g., Pre-2011 Opp’n at 13-14, 17-18.
                  27
                           8
                             AWG’s repeat-ask that the Court rule in its favor because its expert supposedly
                           “detected a measurable effect” (i.e., an overcharge) during the pre-2011 period is
                  28       likewise improper. Pre-2011 Opp’n at 6; Suppl. Pre-2011 Opp’n at 10; see also
                                                                                   DEFS.’ OPP’N TO PLS.’ MOT. FOR
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                       1 unsuccessful when AWG opposed the Pre-2011 Motion, and there is no reason for
                       2 the Court to overturn the conclusion it has already reached.
                       3         C.    AWG’s Motion for Reconsideration Does Not Comply with the
                       4               Local Rules
                       5         In addition to failing on the merits, AWG’s Motion for Reconsideration is
                       6 procedurally deficient in two ways, each of which is grounds to deny the Motion.
                       7         First, the Motion is untimely under Local Rule 7.1(i)(2). In this District,
                       8 “any motion or application for reconsideration must be filed within twenty-eight
                       9 (28) days after the entry of the ruling, order or judgment sought to be
                  10 reconsidered.” S.D. Cal. Civil L.R. 7.1(i)(2). Here, the Court issued the Pre-2011
                  11 Order on April 21, 2023, but AWG did not file its Motion until May 22, 2023—
                  12 three (3) days too late. See Photomedex, Inc. v. Irwin, No. 04-CV-24 JLS, 2010
                  13 WL 3789639, at *4 (S.D. Cal. Sept. 27, 2010) (denying motion for reconsideration
                  14 because the movant “failed to comply with Local Rule 7.1(i)(2)’s timeliness
                  15 requirements”).
                  16             Second, AWG also failed to submit the required affidavit. See S.D. Cal.
                  17 Civil L.R. 7.1(i)(1) (imposing “a continuing duty” upon the moving party and its
                  18 attorney to submit “an affidavit” setting forth, inter alia, the order for which
                  19 reconsideration is sought; when and what judge issued that order; and the new or
                  20 different facts and circumstances that “are claimed to exist which did not exist, or
                  21 were not shown”). AWG’s evidence is all the same, as is the governing law. Its
                  22 failure to submit the required affidavit is yet another reason to deny this Motion.
                  23 See Petersen v. Kasain, No. 21-CV-01345-BAS-AGS, 2022 WL 718483, at *1-2
                  24 (S.D. Cal. Mar. 10, 2022); Schweinsburg v. Gen. Mills, Inc., No. 3:22-CV-00403-
                  25 RBM, 2023 WL 3186294, at *2 (S.D. Cal. May 1, 2023).
                  26                                              ***
                  27 Marlyn, 571 F.3d at 880 (“A motion for reconsideration ‘may not be used to raise
                  28 arguments or present evidence for the first time when they could reasonably have
                     been raised earlier in the litigation.’”) (emphasis in original).
                                                                                     DEFS.’ OPP’N TO PLS.’ MOT. FOR
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                       1        In sum, contrary to AWG’s unsupported assertions, the Court properly
                       2 (1) applied controlling Ninth Circuit law; (2) analyzed the undisputed factual
                       3 record; and (3) concluded that AWG “failed to come forth with ‘specific evidence
                       4 tending to show that [Defendants were] not engaging in permissible competitive
                       5 behavior’” during the pre-2011 time period. Pre-2011 Order at 29 (alteration in
                       6 original) (citing Citric Acid, 191 F.3d at 1094); see also id. at 32, 35. AWG’s
                       7 request for reconsideration should be denied.
                       8 III.   AWG HAS NOT SATISFIED THE REQUIREMENTS OF 28 U.S.C. §
                       9        1292(b)
                  10            AWG’s alternative request that the Court certify the Pre-2011 Order for
                  11 interlocutory appeal under 28 U.S.C. § 1292(b) is equally meritless.
                  12            A.     Legal Standard - Interlocutory Appeal
                  13            Section 1292(b) provides a “narrow exception” to the general rule that
                  14 “parties may appeal only from orders which ‘end[] the litigation on the merits and
                  15 leave[] nothing for the court to do but execute the judgment.’” Couch v. Telescope
                  16 Inc., 611 F.3d 629, 632-33 (9th Cir. 2010) (citations omitted) (alteration in
                  17 original). Section 1292(b) includes three prerequisites—all of which must be
                  18 satisfied before certifying an order for interlocutory appeal under the statute:
                  19 (1) the order must involve “a controlling question of law”; (2) there must be a
                  20 “substantial ground for difference of opinion” as to that legal question; and
                  21 (3) there must be some possibility that “an immediate appeal from the order” will
                  22 “materially advance the ultimate termination of the litigation.” 28 U.S.C. §
                  23 1292(b); Couch, 611 F.3d at 633.
                  24            Even when these statutory requirements are satisfied, interlocutory review
                  25 still should be denied unless “exceptional circumstances justify a departure” from
                  26 the final judgment rule, and an immediate appeal “would avoid protracted and
                  27 expensive litigation.” ICTSI Oregon, Inc. v. Int’l Longshore & Warehouse Union,
                  28 22 F.4th 1125, 1131 (9th Cir. 2022); In re Cement Antitrust Litig., 673 F.2d 1020,
                                                                                   DEFS.’ OPP’N TO PLS.’ MOT. FOR
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                       1 1026-27 (9th Cir. 1981) (“[S]ection 1292(b) is to be applied sparingly and only in
                       2 exceptional cases . . . .”).
                       3         AWG has not satisfied any of section 1292(b)’s requirements, nor has it
                       4 demonstrated that there are “exceptional circumstances” that warrant the
                       5 extraordinary relief it seeks.
                       6         B.     AWG Has Not Identified a Controlling Question of Law
                       7         First, AWG does not identify a question of law, let alone a “controlling”
                       8 one, and its request for certification instantly falls short. Under Section 1292(b)’s
                       9 threshold requirement, the “controlling question . . . must be one of law—not
                  10 fact—and its resolution must ‘materially affect the outcome of litigation in the
                  11 district court.’” ICTSI Oregon, Inc., 22 F.4th at 1130. A question of law is a “pure
                  12 legal question” that the court of appeals could decide “quickly and cleanly without
                  13 having to study the record.” Heaton v. Soc. Fin., Inc., No. 14-CV-05191-TEH,
                  14 2016 WL 232433, at *3 (N.D. Cal. Jan. 20, 2016) (citations omitted). Therefore,
                  15 where a contested issue “rests on the specific evidence presented by the parties”
                  16 the question presented is not “a pure question of law,” and certification is not
                  17 appropriate. Miholich v. Senior Life Ins. Co., No. 21-CV-1123-WQH-AGS, 2022
                  18 WL 1505865, at *5 (S.D. Cal. May 12, 2022).
                  19             AWG identifies a single question in support of its request under section
                  20 1292(b): “[w]hether StarKist’s direct communications can prove a conspiracy.”
                  21 Mot. at 15. The gist of AWG’s question is really: “Did the Court get the Pre-2011
                  22 Order right?” For the reasons explained above, it did. But that does not matter
                  23 here because the question posed is not a pure question of law. Rather, it is a
                  24 question about whether the evidence in this case (i.e., StarKist’s so-called “direct
                  25 communications”) shows that StarKist entered into unlawful agreements with its
                  26 competitors. Court after court has held that such questions—that is, questions
                  27 involving the application of law to facts—are not grounds for interlocutory review
                  28 under section 1292(b). See, e.g., Miholich, 2022 WL 1505865, at *5; SA Music
                                                                                    DEFS.’ OPP’N TO PLS.’ MOT. FOR
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                       1 LLC v. Apple, Inc., No. 3:20-CV-02146-WHO, 2022 WL 1814148, at *5 (N.D.
                       2 Cal. June 2, 2022) (denying plaintiffs’ request for expedited appellate review
                       3 because they did not identify “any true question of law, just an application of a
                       4 settled legal standard to particular facts”); Soler v. Trans Union, LLC, No. 20-CV-
                       5 8459-DSF, 2022 WL 2062466, at *1 (C.D. Cal. Mar. 15, 2022) (“Resolution of the
                       6 issue of whether Trans Union’s reporting was inaccurate or misleading appears to
                       7 turn on questions of fact . . . .”); see also McFarlin v. Conseco Servs., LLC, 381
                       8 F.3d 1251, 1259 (11th Cir. 2004) (“The antithesis of a proper § 1292(b) appeal is
                       9 one that turns on whether there is a genuine issue of fact.”). The Court should
                  10 deny AWG’s request for this reason alone.9
                  11             C.    There Is No Substantial Ground for Differing Opinions
                  12             Second, AWG also fails to establish that there is a “substantial ground for
                  13 difference of opinion” as to the purported question of law at issue. See 28 U.S.C. §
                  14 1292(b). This prong is satisfied only when “novel legal issues are presented, on
                  15 which fair-minded jurists might reach contradictory conclusions”—for example, if
                  16 “the circuits are in dispute on the question and the court of appeals of the circuit
                  17 has not spoken on the point.” ICTSI Oregon, 22 F.4th at 1130. “[A] party’s strong
                  18 disagreement with the Court’s ruling,” however, “is not sufficient for there to be a
                  19 ‘substantial ground for difference’” of opinion. Couch, 611 F.3d at 633. Nor is it
                  20 enough “[t]hat settled law might be applied differently.” Id. Likewise, “just
                  21 because a court is the first to rule on a particular question or just because counsel
                  22 contends that one precedent rather than another is controlling does not mean there
                  23
                  24      9
                            AWG’s question presented is also not “controlling.” Whether AWG’s claims
                  25      start in 2008 or 2011—though important for many reasons—will not “materially
                          affect” the trajectory of this case for purposes of section 1292(b). See ICTSI
                  26      Oregon, Inc., 22 F.4th at 1130. The remote prospect that an appellate ruling in
                          AWG’s favor would add (not eliminate) claims is true in every case in which a
                  27      plaintiff loses on partial summary judgment. Put simply, there are no “exceptional
                  28      circumstances” here that justify departing from the default final judgment rule. Id.
                          at 1131.
                                                                                    DEFS.’ OPP’N TO PLS.’ MOT. FOR
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                       1 is [] a substantial difference of opinion” that can support an interlocutory appeal.
                       2 Id.
                       3         Again, AWG’s “question” is about the evidence it has provided. See Mot. at
                       4 15. Its contention that “numerous district courts have reached a different
                       5 conclusion than this Court” on that question makes no sense. See id. at 16. No
                       6 other Court has analyzed whether the record evidence in this case supports AWG’s
                       7 allegations that StarKist, Del Monte, and DWI entered into unlawful agreements in
                       8 the pre-2011 time period. The fact that other courts in other cases have applied the
                       9 same law and sometimes denied (rather than granted) summary judgment is
                  10 completely unremarkable. That settled law might be applied differently on
                  11 different undisputed facts does not amount to a substantial difference of opinion.
                  12 Couch, 611 F.3d at 633. At bottom, AWG’s argument is based on nothing more
                  13 than the fact that AWG disagrees with the Pre-2011 Order, that AWG (as explained
                  14 above, incorrectly) believes the Court applied the wrong precedent (i.e., Third
                  15 Circuit as opposed to Ninth Circuit law), and that AWG views the evidence
                  16 differently than the Court. That is no reason to grant extraordinary relief under
                  17 section 1292(b).10 See Cunningham v. City of Los Angeles, No. 2:18-CV-08146-
                  18 ABP, 2021 WL 6752243, at *5 (C.D. Cal. Dec. 28, 2021) (“Plaintiff’s
                  19 disagreement with the Court’s application of the relevant case law in the October
                  20 28, 2021 Order does not establish a substantial ground for difference of opinion.”);
                  21 Tsyn v. Wells Fargo Advisors, LLC, No. 14-CV-02552-LB, 2016 WL 1718139, at
                  22 *4 (N.D. Cal. Apr. 29, 2016) (denying plaintiffs’ section 1292(b) request because
                  23 the “essence of [their] argument . . . simply [took] issue with the court’s summary-
                  24 judgment holding”).
                  25
                  26       10
                       If AWG argues (for the first time) on reply that the supposed differences
                     between Ninth Circuit and Third Circuit law constitute a “substantial ground for
                  27 difference of opinion,” that argument should also be rejected. Ninth Circuit
                  28 summary judgment law is settled. And, while AWG may argue that the Court
                     applied the wrong legal standard, it is mistaken. See supra Section II.B.
                                                                                     DEFS.’ OPP’N TO PLS.’ MOT. FOR
ATTOR NEY S A T LA W
 SAN FRANCISCO                                                       15         RECONSID. OR FOR INTERLOC. APPEAL
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                       1         D.    An Interlocutory Appeal Would Not Materially Advance the
                       2               Termination of this Case

                       3         Finally, AWG also has not satisfied the final prong under section 1292(b)—
                       4 that an immediate appeal would “materially advance the ultimate termination of
                       5 the litigation.” See 28 U.S.C. § 1292(b). This requirement cannot be satisfied
                       6 unless the resolution of the question at issue might “‘appreciably shorten the time,
                       7 effort, or expense of conducting’ the district court proceedings.” ICTSI Oregon,
                       8 Inc., 22 F.4th at 1131 (quoting Cement, 673 F.2d at 1027).
                       9         AWG argues that an immediate appeal would materially advance the
                  10 ultimate termination of this litigation because, if the appellate court reverses this
                  11 Court’s decision and if AWG’s case against Defendant Christopher Lischewski
                  12 (which includes pre-2011 claims) goes to trial, the parties would “practically re-
                  13 litigat[e] and potentially re-try[] this same matter.” Mot. at 17 n.9. Lots of ifs.
                  14 Notably, the very authorities AWG cites in support of its argument recognize that
                  15 interlocutory appeals become less likely to materially advance the litigation in
                  16 cases that have substantially progressed. W. Tenn. Chapter of Associated Builders
                  17 & Contractors, Inc. v. City of Memphis, 138 F. Supp. 2d 1015, 1026 (W.D. Tenn.
                  18 2000) (“[T]he role of interlocutory appeal is diminished when a case is nearing
                  19 trial and large expenditures have already been made.”); see also Forest Guardians
                  20 v. Bureau of Land Mgmt., 188 F.R.D. 389, 397 (D.N.M. 1999) (noting that
                  21 certification may be appropriate “early in the action”). This is not a case like West
                  22 Tennessee, for example, where the parties have “engaged in minimal discovery.”
                  23 138 F. Supp. 2d at 1026. Nor is this a situation, like AWG’s other cited cases,
                  24 where the resolution of the proposed appeal might eliminate claims and therefore,
                  25 “save time and expense.” See F.T.C. v. Wyndham Worldwide Corp., 10 F. Supp.
                  26 3d 602, 635 (D.N.J. 2014); see also Ormond v. Anthem, Inc., No. 1:05-CV-1908-
                  27 TWP-TAB, 2011 WL 3881042, at *6-7 (S.D. Ind. Sept. 2, 2011) (explaining that
                  28
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                       1 the interlocutory appeal only involved upside in terms of cost savings; it would
                       2 either “end” the case or maintain the status quo).
                       3        The parties have already invested substantial time and resources to get to
                       4 this point—where the Court is working its way through the remaining summary
                       5 judgment and Daubert motions. The fact that an interlocutory appeal might revive
                       6 a portion of AWG’s claims as to a subset of Defendants does not constitute an
                       7 “exceptional situation[] in which allowing interlocutory appeal would avoid
                       8 protracted and expensive litigation.” See Cement, 673 F.2d at 1026. Indeed,
                       9 allowing AWG to file a piecemeal appeal at this juncture would extend, not
                  10 shorten, the length of this case. See Carroll Shelby Licensing, Inc. v. Halicki, No.
                  11 8:20-cv-01344-MCS, 2023 WL 2347391, at *5 (C.D. Cal. Jan. 30, 2023) (denying
                  12 motion for interlocutory appeal where such appeal “would do nothing but delay the
                  13 ultimate resolution of [the] case and increase the risk and magnitude of wasted
                  14 time and resources”). Because AWG also fails to satisfy the third prong of section
                  15 1292(b), its request for an interlocutory appeal should be denied.
                  16 IV.        CONCLUSION
                  17            For the foregoing reasons, AWG’s Motion seeking reconsideration of the
                  18 Pre-2011 Order or, in the alternative, certification for interlocutory appeal under 28
                  19 U.S.C. § 1292(b) should be denied.
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                                                                                   DEFS.’ OPP’N TO PLS.’ MOT. FOR
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                       1                           SIGNATURE ATTESTATION
                       2        Under Section 2.F.4 of the Court’s CM/ECF Administrative Policies, I
                       3 hereby certify that authorization for filing this document has been obtained from
                       4 each of the other signatories shown above, and that all signatories have authorized
                       5 placement of their electronic signature on this document.
                       6
                       7 Dated: June 9, 2023                            By: s/ Christopher S. Yates
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                       9                                                and Dongwon Industries Co., Ltd.
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